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                        IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF OHIO
                                    WESTERN DIVISION

     IN RE:                                      )
                                                 )          Case No. 3:19-bk-30822
     TAGNETICS INC.,                             )
                                                 )          Chapter 7 (Involuntary)
                         Alleged Debtor.         )
                                                 )          JUDGE GUY R. HUMPHREY


                               NOTICE OF MOTION/OBJECTION

 Tagnetics, Inc. has filed papers with the Court to enforce a settlement agreement with the alleged
 individual creditors Kayser, Earley, and Hager (hereinafter the “Motion”).

 Your rights may be affected. You should read these papers carefully and discuss them with your
 attorney, if you have one in this bankruptcy case. If you do not have an attorney, you may wish to
 consult one.

 If you do not want the Court to grant the relief sought in the Motion, then on or before September
 23, 2019,1 you must file with the Court a response explaining your position by mailing your
 response by ordinary U.S. Mail to U.S. Bankruptcy Court, Southern District of Ohio, Dayton
 Divisional Office, 120 West Third Street, Dayton, Ohio 45402 OR your attorney must file a
 response using the Court’s ECF System.

 The Court must receive your response on or before the above date.

 You must also send a copy of your response either by 1) the Court’s ECF System or 2) ordinary
 U.S. Mail and/or email to Robert R. Kracht, Esq., McCarthy, Lebit, Crystal & Liffman, Co.,
 L.P.A., 101 West Prospect Ave., Suite 1800, Cleveland, OH 44115 (rrk@mccarthylebit.com);
 Stephen Stern, Esq., Kagen, Stern, Marinells & Beard, LLC, 238 West Street, Annapolis,
 Maryland 21401 (Stern@kaganstern.com); Douglas S. Draper, Esq. and Leslie Collins, Esq.,
 Heller, Draper, Partick, Horn, 650 Poydras Street, Suite 2500, New Orleans, LA 70130
 (ddraper@hellerdraper.com) (lcollins@hellerdraper.com); Tagnetics, Inc., 3415 Route 36, Piqua,
 OH 45356; Kenneth W. Kayser, PO Box 115, Catawba, VA 24070; Ronald E. Early, 6429
 Winding Tree Drive, New Carlisle, OH 45344; Jonathan Hager, 2170 River Oaks Drive, Salem,
 VA 24153; and Jeremy Shane Flannery, U.S. Trustee Office, 170 North High Street, Suite 200,
 Columbus, OH 43215,




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  The Court’s Order Fixing Date for Filing of Motions to Enforce Settlement, Scheduling Evidentiary
 Hearing, Requiring Filings, and Ordering Other Matters (Dkt. No. 99) provides that objections to the
 Motion must be filed on or before September 23, 2019.


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 If you or your attorney do not take these steps, the Court may decide that you do not oppose the
 relief sought in the Motion and may enter an order granting that relief without further hearing or
 notice.

 Dated: September 13, 2019                                      /s/ Robert R. Kracht
                                                                Robert R. Kracht (#0025574)


                                  CERTIFICATE OF SERVICE

         I hereby certify that on September 13, 2019, a copy of the foregoing was served (i)
 electronically on the date of filing through the Court’ s ECF System on all ECF participants
 registered in this case at the email address registered with the court and (ii) electronically by email
 on counsel for Tagnetics, Inc., Stephen Stern, Esq. (Stern@kaganstern.com), Douglas Draper, Esq.
 (ddraper@hellerdraper.com) and Leslie Collins, Esq. (lcollins@hellerdraper.com), and (iii) by
 ordinary U.S. Mail on September 13, 2019 addressed to:

 Kenneth W Kayser
 PO Box 115
 Catawba, VA 24070

 Ronald E. Early
 6429 Winding Tree Drive
 New Carlisle, OH 45344

 Jonathan Hager
 842 Paint Bank Road
 Salem, VA 24153

 MaryAnne Wilsbacher
 Office of the United States Trustee
 170 North High Street
 Suite 200
 Columbus, Ohio 43215


                                                                /s/ Robert R. Kracht
                                                                Robert R. Kracht (#0025574)




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